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                           UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS



LAMONTE MCINTYRE & ROSE LEE
MCINTYRE,

             Plaintiffs,
                                                        Case No. 2:18-cv-02545-KHV-KGG
v.

UNIFIED GOVERNMENT OF WYANDOTTE
COUNTY AND KANSAS CITY, KS, et al.,

             Defendants.



                      INDEX OF EXHIBITS TO
      MEMORANDUM OF LAW IN OPPOSITION TO DEFENDANT UNIFIED
     GOVERNMENT OF WYANDOTTE COUNTY AND KANSAS CITY, KANSAS’
                 MOTION FOR SUMMARY JUDGMENT

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      Exhibit 25       Niko Quinn 2014 Affidavit
      Exhibit 26       Cecil Brooks 2016 Affidavit
      Exhibit 27       Shonda Nichols 2014 Affidavit
      Exhibit 28       Tamika Burks Affidavit
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